                         Case 1:12-cr-00105-SS Document 269 Filed 02/07/13 Page 1 of 8
AO   245 B (Rev. O6/O5(W.D.TX.     Judgment in a Criminal Case


                                                                                                           F!LED
                                           UNITED STATES DISTRICT COURT
                                                Western District of Texas                            ZIH3FEB-1      AtilO:   $2
                                                                 AUSTIN DIVISION
                                                                                                     CLERX US r,isrcT COURT
                                                                                                    WESTERN D1TRtCT OF TEXAS
UNITED STATES OF AMERICA

          V                                                                 Case Number    A-i 2-CR-i 05(3)-SSDIP   1

                                                                            USM Number     92528-280
HADI ALl YASSINE
Alias: Hadi Yassine

        Defendant.
                                          AMENDED JUDGMENT IN A CRIMINAL CASE1
                                         (For Offenses Committed On or After November 1, 1987)


              The defendant, HADI ALl YASSINE, was represented by E. G. Morris.

        The defendant was found guilty on Counts 1 3, and 4 by a jury verdict on October 12, 2012 after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such Counts, involving the following offenses:


Title & Section                  Nature of Offense                                 Offense Ended                    Count (s)

18 USC 1956(h),           Conspiracy to Launder Monetary Instruments;              March 20, 2012                   1

18 USC 1956(a)(1)(B)(i) & Aiding and Abetting
18 USC 2

18 USC 1956(a)(3)(B) & Money Laundering; Aiding and Abetting                       October 10, 2008                 3
18 USC 2

18 USC 1956(a)(3)(B) & Money Laundering; Aiding and Abetting                       April 30, 2009                   4
18 USC 2

      As pronounced on January 25, 2013, the defendant is sentenced as provided in pages 2 through 8 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any material change in
the defendants economic circumstances.

         Signed this the              day of February, 2013.




                                                                                           SAM SF'ARKS
                                                                                     United States District Judge




                       tAmended to include the Money Judgment.



                                                                                                                                         'I
                           Case 1:12-cr-00105-SS Document 269 Filed 02/07/13 Page 2 of 8
AO    245 B (Rev. 06/05)(W.D.TX.)   -   Imprisonment




                                                                                                               Judgment--Page 2
Defendant: HADI ALl YASSINE
Case Number: A-12-CR-105(3)-SS

                                                           IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
SIXTY (60) months on each of Counts 1, 3, and 4 to be served concurrently.

       The Court recommends to the Bureau of Prisons that the defendant be placed in a federal facility as close to Austin,
Texas as possible for family visitation reasons.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons as notified
by the United States Marshal.




                                                              RETURN

             I   have executed this Judgment as follows:




             Defendant delivered on                              to
 at                                                                          with a certified copy of this Judgment.


                                                                                United States Marshal

                                                                              By
                                                                                        Deputy Marshal
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AO 245 B (Rev. 06/05)(W.D.TX.)   Supervised Release


                                                                                                                      Judgment--Page 3
Defendant: HADI ALl YASSINE
Case Number: A-12-CR-105(3)-SS

                                                        SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) years on each
of Counts  1, 3, and 4 to be served concurrently.


         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special
conditions that have been adopted by this Court, and shall comply with the following additional conditions:

 X        If defendant is excluded, deported or removed upon release of probation or supervised release, the term of supervision
          shall be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United
          States. If the defendant lawfully reenters the United States during the term of probation or supervised release, the
          defendant shall immediately report in person to the nearest U.S. Probation Office.

 X       The defendant shall upon request of the probation office, authorize release of any and all financial information, to
         include income records, income tax records, and social security records, by execution of a release of financial
         information form or by other appropriate means.

 X       The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the
         probation officer, and if deemed necessary by the probation officer, the defendant shall participate in a program
         approved by the probation officer for treatment of narcotic addiction or drug or alcohol dependency which may include
         testing and examination to determine if the defendant has reverted to the use of drugs or alcohol. During treatment, the
         defendant shall abstain from the use of alcohol and any and all intoxicants. The defendant may be required to
         contribute to the cost of the services rendered (co-payment) in an amount to be determined by the probation officer,
         based upon the defendant's ability to pay.

 X        The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
          necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation
          officer. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be
          determined by the probation officer, based upon the defendant's ability to pay.

 X        The defendant shall abstain from the use of alcohol and/or all other intoxicants during the term of supervision.
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AO 245 B (Rev. 05/04)(W.D.TX.) - SuDervised Release

                                                                                                                          Judgment--Page 4
Defendant: HADI ALl YASSINE
Case Number: A-12-CR-105(3)-SS
                                                     CONDITIONS OF SUPERVISION
Mandatory Conditions:
1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not unlawfully possess a controlled substance.

3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
      15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court)
      for use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
      defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
      defendant.

4)    In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
      released within 72 hours of release from custody of the Bureau of Prisons.

5)    If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
      weapon.

6)    The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample is
      authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

7)    If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the defendant comply
      with the requirements of the Act.

8)    If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
      program for domestic violence.

9)    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
      Schedule of Payments sheet of the judgment.

Standard Conditions:

1)    The defendant shall not leave the judicial district without permission of the court or probation officer.

2)    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4)    The defendant shall support his or her dependents and meet other family obligations, and shall comply with the terms of any
      court order or order of an administrative process requiring payments by the defendant for the support and maintenance of a child
      or of a child and the parent with whom the child is living.

5)    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
      acceptable reasons.

6)    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7)    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
      controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8)    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9)    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
      convicted of a felony, unless granted permission to do so by the probation officer.

10)   The defendant shall permit a probation officer to visit him or her at any time, at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view of the probation officer.

11)   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer
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AO 245 B (Rev. 05/04)(W.D.TX.) Supervised Release

                                                                                                                        Judgment--Page 5
Defendant: HADI ALl YASSINE
Case Number: A-12-CR-105(3)-SS

12)   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court.

13)   As directed by the probation officer, the defendant shall notify third parties of risks that my be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications, and to
      confirm the defendant's compliance with such notification requirement.

14)   If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a
      State or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
      circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
      approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
      offender treatment program, including submission to polygraph testing, to determine if the defendant is in compliance with the
      conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.

15)   The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation officer,
      and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the probation officer
      for treatment of narcotic addiction or drug or alcohol dependency which may include testing and examination to determine if the
      defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
      any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based upon the defendant's ability to pay.

16)   The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
      necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
      The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined by
      the probation officer, based upon the defendant's ability to pay.

17)   The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
      necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
      administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18)   The defendant shall participate in workforce development programs and services as directed by the probation officer, and if
      deemed necessary by the probation officer, which include occupational/career development, including but not limited to
      assessment and testing, education, instruction, training classes, career guidance, job search and retention services until
      successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19)   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
      be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
      defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall immediately
      report in person to the nearest U.S. Probation Office.

20)   If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such penalties
      in accordance with the Schedule of Payments sheet of the judgment.

21)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall provide the probation officer access to any requested financial information.

22)   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
      supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the
      probation officer, unless the defendant is in compliance with the payment schedule.
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AO 245 B (Rev. O5/O4(W.D.TX.')        Supervised Release

                                                                                                                        Judgment--Page 6
Defendant: HADI ALl YASSINE
Case Number: A-12-CR-105(3)-SS

The Court further adopts such of the following special conditions applied to the supervised person by the judge at the time of
sentencing:

1)   Community Confinement: The defendant shall reside in a Community Corrections Center for a period of        months to
     commence on _____________. Further, once employed, the defendant shall pay 25% of his/her weekly gross income for his/her
     subsistence as long as that amount does not exceed the daily contract rate.

     Location Monitoring Program:
2)   Radio Frequency Monitoring: The defendant shall participate in the Location Monitoring Program with Radio Frequency
      Monitoring for a period of          days/months. You shall abide by the rules and regulations of the Participant Agreement Form.
      During this time, you will remain at your place of residence except for employment and other activities approved in advance by
     your probation officer. You will maintain a telephone at your place of residence without "caller ID," "call forwarding," "call waiting,"
     'call back/call block," a modem or a portable cordless telephone for the above period as directed by the probation officer. You
     will wear an electronic monitoring device and follow location monitoring procedures specified by your probation officer. You shall
      pay all or part of the costs of the program based on the ability to pay as directed by the probation officer.

3)   Global Positioning Satellite (GPS): The defendant shall participate     in the Location Monitoring Program for a term not to exceed
            days/months, which will include remote location monitoring using _Active               Passive Global Positioning Satellite
     (GPS) tracking. You shall abide by the rules and regulations of the Participant Agreement Form. During this time, you will
     remain at your place of residence except for employment and other activities approved in advance by your probation officer. You
     will maintain a telephone at your place of residence without "caller ID," "call forwarding," "call waiting," "call back/call block," a
     modem or a portable cordless telephone for the above period as directed by the probation officer. At the direction of the
     probation officer, you shall wear a transmitter and be required to carry a tracking device. You shall pay all or part of the costs of
     the program based on the ability to pay as directed by the probation officer.

4)   Community Service: The defendant shall perform            hours of community service work without pay, at a location approved by
     the probation officer, at a minimum rate of four hours per week, to be completed during the first    months of supervision.
5)   Sex Offender Search & Seizure Condition: If required to register under the Sex Offender Registration and Notification Act, the
     defendant shall submit his person, and any property, house, residence, vehicle, papers, computer, other electronic
     communication or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
     enforcement or probation officer with reasonable suspicion concerning a violation of a condition of probation or supervised
     release or unlawful conduct by the person, and by any probation officer in the lawful discharge of the officer's supervision
     functions.
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                                                                                                                                                                    Judgment--Page 7
Defendant: HADI ALl YASSINE
Case Number: A-12-CR-105(3)-SS

                                                         CRIMINAL MONETARY PENALTIES! SCHEDULE

          The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
Bureau of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 200
W. 8th Street, Room 130 Austin, Texas 78701.
          The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
                                                  Assessment                                     Fine                                               Restitution
  TOTAL:                                          $300.00                                        $30,000.00                                         $0

                                                                               Special Assessment

         It is ordered that the defendant shall pay to the United States a special assessment of $300.00.                                                     Payment of this sum
shall begin immediately.

                                                                                            Fine

        It is ordered that the defendant shall pay a fine of $10,000.00 per Count for a total of $30,000.00, payable to the Clerk,
United States District Court.

         If the defendant is not now able to pay this indebtedness, the defendant shall cooperate fully with the office of the
United States Attorney, the Bureau of Prisons and/or the United States Probation Office to make payment in full as possible,
including during any period of incarceration. Any unpaid balance at the commencement of a term of probation or supervised
release may be paid on a schedule of monthly installments to be approved by the Court and becomes a condition of
supervision.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 36640), all non-federal victims must be paid before the United States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed.              See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §361 2(t). All payment options may be subject to penalties for delinquency and default, pursuant to 18 u.s.c. §3612(g).

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 1 09A, 110,       11 OA,   and   11 3A   of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                                                                                                                                   Judgment--Page 8




                                                                               MONEY JUDGMENT


       The Court orders a Money Judgment in the amount of $15,500.00 in United States currency. The defendant is jointly
and severally liable for the Money Judgment with Hussein Ali Yassine and no further payment shaH be required after the sum of
the amounts actually paid by all defendants has fully covered all of the compensable injuries.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 36640), all non-federal victims must be paid before the United States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of
the judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters      1   09A, 110,   11 OA,   and 11 3A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
